         Case 1:21-cr-00129-ABJ Document 108 Filed 03/15/23 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                :
                                        :             Case No. 21-CR-129 (ABJ)
             v.                         :
                                        :
GABRIEL AUGUSTIN GARCIA,                :
also known as “Gabriel Agustin Garcia,” :
                                        :
                   Defendant.           :

                GOVERNMENT’S MOTION TO MODIFY HEARING TIME

       The United States, by and through its attorney, the United States Attorney for the District of

Columbia, respectfully submits this motion to modify the time of the hearing scheduled on March

20, 2023.

       On Tuesday, March 14, 2023, the Court ordered a hearing on the Pretrial Violation Report,

ECF No. 107, scheduled for March 20, 2023 at 10 a.m. Undersigned counsel is scheduled to begin

a bench trial on March 20, 2023 at 10:30 a.m. before Judge Boasberg in United States v. Price &

Ballenger, 21-cr-719. As such, the United States respectfully requests – if the Court’s schedule

permits – that the Court move the hearing in this case to 9:00 a.m. on March 20, 2023.

       Undersigned counsel has contacted defense counsel and defense does not object and would

be available at the proposed time.


                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      United States Attorney
                                                      D.C. Bar Number 481052

                                            By:       /s/ Ashley Akers
                                                      ASHLEY AKERS
                                                      MO Bar #69601
                                                      Trial Attorney
                                                      United States Attorney’s Office


                                                  1
Case 1:21-cr-00129-ABJ Document 108 Filed 03/15/23 Page 2 of 2




                                  601 D Street, N.W.
                                  Washington, DC 20530
                                  Phone: (202) 353-0521




                              2
